Case 2:18-cv-00483-JRG Document 102 Filed 09/05/19 Page 1 of 6 PageID #: 2665



                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

 LUMINATI NETWORKS LTD.                        §
                                               §
                  Plaintiff,                   §   CIVIL ACTION NO. 2:18-cv-483-JRG
                                               §
                                               §
 v.                                            §   JURY TRIAL DEMANDED
                                               §
 BISCIENCE INC.                                §
                                               §
                  Defendant.                   §


                       FIRST AMENDED DOCKET CONTROL ORDER

                It is hereby ORDERED that the following schedule of deadlines is in effect until

further order of this Court:

 Current Deadline        Amended Deadline       Event

 June 1, 2020                                   *Jury Selection – 9:00 a.m. in Marshall

 April 27, 2020                                 *Pretrial Conference – 9:00 a.m. in Marshall,
                                                Texas before Judge Rodney Gilstrap

 April 20, 2020                                 *Notify Deputy Clerk in Charge regarding the date
                                                and time by which juror questionnaires shall be
                                                presented to accompany by jury summons if the
                                                Parties desire to avail themselves the benefit of
                                                using juror questionnaires1




       1
       The Parties are referred to the Court’s Standing Order Regarding Use of Juror
Questionnaires in Advance of Voir Dire.
Case 2:18-cv-00483-JRG Document 102 Filed 09/05/19 Page 2 of 6 PageID #: 2666




 April 20, 2020                      *Notify Court of Agreements Reached During
                                     Meet and Confer

                                     The parties are ordered to meet and confer on any
                                     outstanding objections or motions in limine. The
                                     parties shall advise the Court of any agreements
                                     reached no later than 1:00 p.m. three (3) business
                                     days before the pretrial conference.

 April 20, 2020                      *File Joint Pretrial Order, Joint Proposed Jury
                                     Instructions, Joint Proposed Verdict Form,
                                     Responses to Motions in Limine, Updated Exhibit
                                     Lists, Updated Witness Lists, and Updated
                                     Deposition Designations

 April 13, 2020                      *File Notice of Request for Daily Transcript or
                                     Real Time Reporting.

                                     If a daily transcript or real time reporting of court
                                     proceedings is requested for trial, the party or
                                     parties making said request shall file a notice with
                                     the Court and e-mail the Court Reporter, Shelly
                                     Holmes, at shelly_holmes@txed.uscourts.gov.

 April 6, 2020                       File Motions in Limine

                                     The parties shall limit their motions in limine to
                                     issues that if improperly introduced at trial would
                                     be so prejudicial that the Court could not alleviate
                                     the prejudice by giving appropriate instructions to
                                     the jury.

 April 6, 2020                       Serve Objections to Rebuttal Pretrial Disclosures

 March 23, 2020                      Serve Objections to Pretrial Disclosures; and Serve
                                     Rebuttal Pretrial Disclosures

 March 16, 2020                      Serve Pretrial Disclosures (Witness List,
                                     Deposition Designations, and Exhibit List) by the
                                     Party with the Burden of Proof




                                    -2-
Case 2:18-cv-00483-JRG Document 102 Filed 09/05/19 Page 3 of 6 PageID #: 2667




 March 9, 2020                                 *Response to Dispositive Motions (including
                                               Daubert Motions). Responses to dispositive
                                               motions that were filed prior to the dispositive
                                               motion deadline, including Daubert Motions, shall
                                               be due in accordance with Local Rule CV-7(e),
                                               not to exceed the deadline as set forth in this
                                               Docket Control Order.2 Motions for Summary
                                               Judgment shall comply with Local Rule CV-56.

 February 24, 2020                             *File Motions to Strike Expert Testimony
                                               (including       Daubert        Motions)

                                               No motion to strike expert testimony (including a
                                               Daubert motion) may be filed after this date
                                               without leave of the Court.

 February 24, 2020                             *File Dispositive Motions

                                               No dispositive motion may be filed after this date
                                               without leave of the Court.

                                               Motions shall comply with Local Rule CV-56 and
                                               Local Rule CV-7. Motions to extend page limits
                                               will only be granted in exceptional circumstances.
                                               Exceptional circumstances require more than
                                               agreement among the parties.

 February 24, 2020                             Deadline to Complete Expert Discovery

 February 10, 2020                             Serve Disclosures for Rebuttal Expert Witnesses

 January 13, 2020                              Deadline to Complete Fact Discovery and File
                                               Motions to Compel Discovery

 January 13, 2020                              Serve Disclosures for Expert Witnesses by the
                                               Party with the Burden of Proof




       2
         The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s
failure to oppose a motion in the manner prescribed herein creates a presumption that the party
does not controvert the facts set out by movant and has no evidence to offer in opposition to the
motion.” If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to
Dispositive Motions, the deadline for Response to Dispositive Motions controls.




                                              -3-
Case 2:18-cv-00483-JRG Document 102 Filed 09/05/19 Page 4 of 6 PageID #: 2668




 December 24,                        Deadline to Complete Mediation
 2019
                                     The parties are responsible for ensuring that a
                                     mediation report is filed no later than 5 days after
                                     the conclusion of mediation.

 December 17,                        Comply with P.R. 3-7 (Opinion of Counsel
 2019                                Defenses)

 November 26,                        *Claim Construction Hearing – 1:30 p.m. in
 2019                                Marshall, Texas before Judge Rodney Gilstrap

 November 12,                        *Comply with P.R.          4-5(d)   (Joint   Claim
 2019                                Construction Chart)

 November 5, 2019                    *Comply with P.R.         4-5(c)    (Reply   Claim
                                     Construction Brief)

 October 29, 2019                    Comply with P.R. 4-5(b) (Responsive Claim
                                     Construction Brief)

 October 15, 2019                    Comply with P.R. 4-5(a) (Opening Claim
                                     Construction Brief) and Submit Technical Tutorials
                                     (if any)

                                     Good cause must be shown to submit technical
                                     tutorials after the deadline to comply with P.R. 4-
                                     5(a).

 October 15, 2019                    Deadline to Substantially Complete Document
                                     Production and Exchange Privilege Logs

                                     Counsel are expected to make good faith efforts to
                                     produce all required documents as soon as they are
                                     available and not wait until the substantial
                                     completion deadline.

 October 1, 2019                     Comply with P.R. 4-4 (Deadline to Complete
                                     Claim Construction Discovery)

 September 24,                       File Response to Amended Pleadings
 2019




                                    -4-
Case 2:18-cv-00483-JRG Document 102 Filed 09/05/19 Page 5 of 6 PageID #: 2669




 September 10,                                  *File Amended Pleadings
 2019
                                                It is not necessary to seek leave of Court to amend
                                                pleadings prior to this deadline unless the
                                                amendment seeks to assert additional patents.

 September 3, 2019     September 6, 2019        Comply with P.R. 4-3 (Joint Claim Construction
                                                Statement)
(*) indicates a deadline that cannot be changed without showing good cause. Good cause is not
shown merely by indicating that the parties agree that the deadline should be changed.

                              ADDITIONAL REQUIREMENTS

       Notice of Mediator: The parties are to jointly file a notice that identifies the agreed upon
mediator or indicates that no agreement was reached. If the parties do not reach an agreement, the
Court will appoint a mediator. The parties should not file a list of mediators to be considered by
the Court.

        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) copies of the
completed briefing (opening motion, response, reply, and if applicable, surreply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. For expert-related motions, complete digital copies of the
relevant expert report(s) and accompanying exhibits shall submitted on a single flash drive. These
copies shall be delivered as soon as briefing has completed.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
the local rules’ normal page limits.

        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:

(a)    The fact that there are motions for summary judgment or motions to dismiss pending;

(b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
       unless the other setting was made prior to the date of this order or was made as a special
       provision for the parties in the other case;

(c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
       was impossible to complete discovery despite their good faith effort to do so.

       Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
include a proposed order that lists all of the remaining dates in one column (as above) and the
proposed changes to each date in an additional adjacent column (if there is no change for a date
the proposed date column should remain blank or indicate that it is unchanged). In other words,



                                               -5-
    .

Case 2:18-cv-00483-JRG Document 102 Filed 09/05/19 Page 6 of 6 PageID #: 2670



the DCO in the proposed order should be complete such that one can clearly see all the remaining
deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
version of the DCO.

       Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above under “Amendments to the Docket Control Order (‘DCO’).”

        So ORDERED and SIGNED this 5th day of September, 2019.




                                                            ____________________________________
                                                            RODNEY GILSTRAP
                                                            UNITED STATES DISTRICT JUDGE




                                                -6-
